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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                               )
     v.                                        )    CRIMINAL NO. 15-10145-RGS
                                               )
DESMOND CRAWFORD                               )


 UNOPPOSED MOTION FOR TEMPORARY MODIFICATION OF PRE-TRIAL RELEASE
                           CONDITIONS

       Defendant Desmond Crawford hereby moves for the following temporary modification of

his pre-trial release conditions as ordered by Magistrate Judge Bowler on September 5, 2018:

          Mr. Crawford seeks to attend a gathering for his wife’s 30th birthday in Las Vegas, NV,

from either November 16-19, or 17-20, 2018. Mr. Crawford therefore moves to have the

Massachusetts-based restrictions of his release term temporarily suspended to permit travel for

this event. Counsel will provide the details of the trip, including the location he will be staying

each night, to Probation. Mr. Crawford will continue to abide by all the remaining terms of his

release and will check in telephonically with Probation as often as Probation requires while gone.

Counsel has conferred with the government, which does not oppose the motion, and with

Probation, which assents to the motion.

                                                         Respectfully submitted,

                                                         DESMOND CRAWFORD,

                                                         By his attorney,

                                                         /s/ William J. Trach
                                                         William J. Trach (BBO# 661401)
                                                         LATHAM & WATKINS LLP
                                                         John Hancock Tower, 27th Floor
                                                         200 Clarendon Street


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                                       Certificate of Service

        I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered Participants as identified on the Notice of Electronic Filing (NEF)
on October 16, 2018.

                                                     /s/ William J. Trach




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